         Case 1-17-46613-nhl            Doc 33        Filed 02/27/18           Entered 02/27/18 17:39:07




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                     x
In re:                                                                    Chapter 11

BRACHA CAB CORP., et al.,                                                 Case No. 1-17-46613(NHL)

                                                                          Jointly Administered
                            Debtors.                                 X
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                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK  }
                   } ss:
COUNTY OF NEW YORK }

         I, John C. Murphy, being duly sworn, deposes and says:

         That I am over eighteen years of age, am employed by Troutman Sanders LLP, and am not
a party to this action.

       On the 27t~' day of February 2018, I served a true and correct copy of Capital One
Equipment Finance Corp.'s Objection to Debtors'Motionfor Authorization to use Cash
Collateral[ECF. No. 31](the "Objection") via overnight courier and email on:

                                        Bruce Weiner
                                        Counsel for the Debtors
                                        Rosenberg Musso &Weiner LLP
                                        26 Court Street
                                        Suite 2211
                                        Brooklyn, NY 11242
                                        Email: bweiner~nybankruptc~.

        On the 27`h day of February 2018, I also served a true and correct copy ofthe Objection
via overnight courier as indicated on the attached service lists.
                                                                             C~
                                                                            John C.    rphy
Sworn to before me this
Z~tn day of February 2018.




         Notary        is
                                           CAROL J. PINTO
                                    Notary P~~b'ic. StatE~ r~# N2w York
                                            ria ~ ~;_~~«~~
34251037v1                           Qu~li#icc      env YJrk Gounty
                              Commission ~>,           , r~-:;4r3p, 20
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